                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK


 PleasrDAO,

                Plaintiff
                                                    Case No. 1-24-cv-04126-PKC-MMH
        v.

 Martin Shkreli,
                Defendant



       I, Martin Shkreli, hereby declare and state under penalty of perjury as follows:

       1.      I am the Defendant in the above-captioned action.

       2.      I submit this declaration in response to the Preliminary Injunction Order entered on

August 26, 2024, which requires that I sequester and turn over all copies, in any form, of Once

Upon a Time in Shaolin (the “Musical Work”) to defense counsel, and file an affidavit that I no

longer possess any copies, in any form, of the Musical Work. ECF 30.

       3.      On August 23, 2024, my attorneys advised me that the Court ordered that I turn

over all copies of the Musical Work to defense counsel.

       4.      On August 26, 2024, my attorneys advised me that the Court had issued a written

order requiring that I “sequester and turn over” all copies, in any form, of the Musical Work to my

attorneys. ECF 30.

       5.      I have searched my devices, electronic accounts, and other personal effects, and

have identified the following copies of the Musical Work:

        File Title                              Location and Format

        01 – Unknown Artist – Track 1.flac      Microsoft OneDrive, FLAC audio




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        02 – Unknown Artist – Track 2.flac       Microsoft OneDrive, FLAC audio

        03 – Unknown Artist – Track 3.flac       Microsoft OneDrive, FLAC audio

        04 – Unknown Artist – Track 4.flac       Microsoft OneDrive, FLAC audio

        05 – Unknown Artist – Track 5.flac       Microsoft OneDrive, FLAC audio

        06 – Unknown Artist – Track 6.flac       Microsoft OneDrive, FLAC audio

        07 – Unknown Artist – Track 7.flac       Microsoft OneDrive, FLAC audio

        08 – Unknown Artist – Track 8.flac       Microsoft OneDrive, FLAC audio

        09 – Unknown Artist – Track 9.flac       Microsoft OneDrive, FLAC audio

        10 – Unknown Artist – Track 10.flac Microsoft OneDrive, FLAC audio

        11 – Unknown Artist – Track 11.flac Microsoft OneDrive, FLAC audio

        12 – Unknown Artist – Track 12.flac Microsoft OneDrive, FLAC audio

        13 – Unknown Artist – Track 13.flac Microsoft OneDrive, FLAC audio

        14 – Unknown Artist – Track 14.flac Microsoft OneDrive, FLAC audio

        15 – Unknown Artist – Track 15.flac Microsoft OneDrive, FLAC audio



       6.      Because of my recent time spent serving a criminal sentence, many of my personal

effects were moved into storage. As a result, it is possible that I have been unable to exhaustively

locate each and every copy of the Musical Work. In the event that I discover any additional copy

of the Musical Work, I will promptly transfer said copy to my attorneys in the same manner as all

other copies referenced here.

       7.      I transferred each of the copies identified in Paragraph 5 onto a USB stick, which I

sent to my attorneys at the following address via hand delivery to:




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       Bochner PLLC
       1040 Avenue of the Americas, 15th Floor
       New York, NY 10018

       8.      I deleted each of the copies identified in Paragraph 5 from all of my electronic

devices.

       9.      To the best of my knowledge, I do not have possession of any other copies of the

Musical Work, in any form.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


       EXECUTED on ________________________




                                                    ____________________________
                                                    Martin Shkreli




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